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April 21, 2016
VIA ECF

Hon. Steven C. Mannion U.S.M.J.

United States District Court

M.L. King Jr. Federal Building & Courthouse
50 Walnut Street - 2nd. Floor

Newark, NJ 07102

Re: United States v. Narendra Singh Plaha
Magistrate No.16-6044 (SCM)

Dear Judge Mannion:

On April 5, 2016, | entered an appearance as counsel on behalf of defendant
Narendra Singh Plaha, in the above referenced matter. | am writing to the Court today,
to advise the Court that my appearance on April 5, 2016 was solely for the initial
appearance, and that Mr. Plaha has not retained my firm to represent him in this matter.
| am copying Mr. Plaha on this correspondence so that he is aware that he must retain
new counsel to represent him in this matter going forward.

Respectfully submitted,
we

 

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Robert J. Flanagan tll

cc: Mr. Narendra Singh Plaha (via regular and certified mail, r.r.r.)
Dennis C. Carletta, Esq. (via ECF)

 

 
